Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 1 of 16




         Attachment A
                         Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 2 of 16


                  I

     ALDOC Form 2258
                                       ALABAMA DEPARTITilENT OF CORRECTIONS
                                               DISSPLINARY REPORT
                  Inmate: Miller Alan                  Custody: MAX              AIS: WfL672
                                                                          Discrplinary #HP09- 245
                  Facility: W.,C. HOLMAN CORRECTIONAL FACILITY
                                                                                                               with violation of rule
                  The above named inmate is being charged by
                  ffi#Ig **fr,;ffifi;;(time)offiin@rt
                                             8:45 (anr), Location: Cdt C'-16 '
                                                                                                    from regulation # 403 n&ich occurred
                              3--2@at
                  oo o. ub6i March
     I

     I            A hearing oo Ait ctatge   will be held after 24 hours from service'
     I




4.
     I



                  Cirormsances ofthe violation(s) are as follows' Lt. Enslish did sive inmate
                                                                                              Miller.         AItn W&'672   a direct

                  order to cuffuo and exit his cell for a DNA test- he reftrsed'



                                                                                 Aresting Officer / Signature /

                                                                                                           inmate and I informed
                  Ihireby certi& that I have personally served a copy of the foregoing upon theabove named

                  mir *'n: ;rTf :;T 3,ffi
5.
                                                                                                                questions for the
                                                                            Tui"r&ff            3sfflfr ffi"
                                                                                fnrtrate's Signaarre / AIS

 6.

         il
                  Witnesses desired?        NO
                                                 Imrate's Sigpanre
                                                                                                                                            w
1.                Ifyes, list:



                                  3-/3-6 q                               !/ I    A,rur               pt*     fuO 5ilrc/        ffiA
          i



 8.
         I
                  Hearing   D$"                              ror"    Q

                                                                          not prese,nt srrylair in detail on additional page and affich.
          l


 9l               trnmde mustbe preseut in Hearing Room.       If@*e.is

 10.              A findine is madelbd



,l
              i




 r1.                                                                                                 Guilry

                                j
 t2.              The Arresting'Officer, Lrmate, and all             were swom to tell the truth.

                                                                                                                   APR   24    illt




                                                                                                               AmorCtoAR,l03    (Page   I   of 5)

                                                                                                                     AMILLER1983DISC0933
                  Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 3 of 16



            Arresting Officer's testimony (at the hearing):    Lt. Erelish srat4irtrBge Alal I'fiLler   Wft672 refi:sed U,lA t€sr.
            (see attached statsrErt   of Lt. hgJjdl.\




            lnmate's Testimony: See attached statarEnt.




            Witness:    N/A                                        Substance of Testimony:




           Witness:     N/A
                                                                   Substance of Testimony:


\-

           Witness:   N/A                                      Substance of Testimony:




     15.   The inmate                                question to all witnesses. copy of questions and answers are attached.




     16.   The following witnesses were not called   -   Reason not called

           l. h1e Fergusur W/Zhn                          kmate refused to
           2. ltillian Krcnzel Wft/&
           3. George leftjn B/Zh7\                        Irrate   refiased   to testify.




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                                                                                                 Annex C to AR 403 (page 3 of5)
                                                                                                             AMILLER1983DISC0934
                                  Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 4 of 16




                 17.     After hearing all testimony, the Hearing Officer makes the following findings of fact
                                                                                                               @e Specific)
     I
                         The Hearing Officer finds   that: ft      l"hrch   3,   M   at
     i
     I

     I




                 18.                    ofFact: Lt. JaEs Er}8ljsh, ub stated under eth: I& did gve inrate Alan l{Lller
                        Basis for Finding
                       a direct order to cuff up and erit his cel1 fm a D'[a t"st. rr*t
                                                                                        1,fi.]1o. ,"f,r*.




                 19.    Hearing Officer's   Decision:   L             Guilty                Not Guilty


                 20.    Recommendation of Hearing      Officer:   20 days rti.qcif-tin.rry scgre€aticn a,yt 45 darre l,oss
                                                                                                                           e€   all   Ftrnreges"




                                                                         / Hearng Officer
                                                                  Sigrrature
\-                                                C. T. Jenldns, Cor,::ectionl Lianternnt
                                                                    Typed Name and Title



         21.           Warden's A

                       Approved
                       Disapproved

                       Other (specify)
         a



     l
         22.           Reason   if more then 30 caiendar days delay in action.


         !




                                                                               ((hfu* ' zrifi, *Gir;,q 3i
         23.           I hereby certify that a completed c-opy gf the foregoing Disciplinary Report was served on
                       Namy\inmateonthis      y"'        A'7       aayot-


                                                   / Title


\.
             i                                                                                                    Annex C to AR 403 @age 3 of 5)
                                                                                                                               AMILLER1983DISC0935
Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 5 of 16
                                        mbartolicesidley                                                            Sidley                         Page   2
                                                                                       ' com




                                                                                                                              LOS AI{GH.ES
                                                  ElotEY AUSTII{         ut                             BEIJINO
                                                                                                        BRUSSiELS             iIEW YORK
                                                  ONE SOUTH OEAEEOi,I{
                                                                                                        cHlcAoo                   sAt{ FRANClsco
                                                  cHrcAGo, lL 60€03
                                                                                                        DAI.LAS                   SHAT{GHAI
                                                  (3r2) 8s3 7000
                                                                                                        FRA}IKFURT                6INGAPORE
                                                  ,(3t2) 053 7o3O FAX
                                                                                                        GENEVA                    SYOt'lEY
                                                                                                         HONG KONG                TOKYCI
                                                                                                         LONOON                   wAsHrHoTON, O.C.


                                                      nHrtollcoddlry-cfl
                                                      (412) 85$4152                                      FOur,lDEO 1886




                                                             March 13;2009


ByFax and Poot

Warden Culliver
W.C. Holrran Correctional Facility
Holman 3700
Atnore, AL 36503'3700

        Re:     AIanEuecoeMiller.002622

Dear Wardeir Culliver;

       I received a call ftom my blient, Alur Eugene Millcr, last Tueday, March 3rd regnrding
                                                                                              de;rrmd
Holman,s mandatory DNa satnbliqg, Mr. Miller asked me what to do in response to.the
                                                                                        giving the
for a DNA sample. t aAuisea ptr. tvtitter to verbally state that h9 did not consent to
                                            not resistin&*d       fact-follow ttre guards' ordcrs.
sample, but to verbally make clear he was                      T
Whiie i was on tte tetcphong with 11fr. Miller, the call abnrptly  ended.

         Iater that day t received auotho call from Mr. Miller infonning me that because he did
                                                                            the guards in
os1 esnselrt, wen though he made clear to the guards he would n9lresis!
i*tJi"tioo *i*vrd Ur.-n{itter in the face with mace, shoved Mr. Miller the ground, and tlrcn
                                                                         to
mJUfi prii; opeir his jaw in oniler to take a DNA saoryle. Mr. Miller also informed me that my
.atUeriiepUone call witn nin carne to an end beoause one of the guards unptu-gg.e{ the -
tefepn*e.'ur, Miller told me that the guards involved were Messrs. Englisll Strickland, Craft,
and Weavar

          I beliarc my client inteid€d only to follow his lawyer's advico. orrr convasation
                                                                                                     had
                                          i     more  time  ou  the telep_hone,  I  believe  the advicc
 been cut short, andhad Mr. Miller ana      naO
                                                                                          the guards or
  would have been clearcr to hitrL I do not believe Mr. Miller intended to disobey
                                                                          follow   the  advice  provided in
         *v aifficulty for them. He rncrely made his    best attsmpt   to
  "r*t"
. a very brief conversation with his counsel.


         I pnderstand Mr. Milla will likelyhave a disciplinarybearing I ask           eo$ider this                           pt
                                                    my   glient I.ask you to be lenieng and s€e ttut
 letts in determining whether or not to aiscipliue
 Mr. Millcr did not intend to create any difficulty for the guards'




                                       ut r r lnl.d   I'!B               F.6t!   lt   tmEt   arr cdr"   ga8^rilr F tt''d*'
                        91i.,                                P.rttlrr*
                                ^ldn




                                                                                                                                              AMILLER1983DISC0936
        Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 6 of 16
:\l L3/2O09 9:56:11At'!      mbartolic@sidIeY. com
  i.




        WqdenCulliver
        tr.Iadl 13,2008
        PEge 2




                                         Mic,hld Bartolic



        Enclosrres

        e,c:     AlanEugrnoMitlcr




                                                                     AMILLER1983DISC0937
             Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 7 of 16
                                                                                                   sl,t lg
                                  C"q        racrivq{ bl

                                            , w*r,ul           :

                                     ',        Soru*      l\   '

                                   TIIVESTIGATIVE
                                                                               NVESTIGATION & INTELLIGENCE
ALABATA DEPARTTUIENT OF                                                                     DlvlsloN
    CORRECTIONS

                                          Gonfidentialfot Official Usc OnlY


Offense:    fficer   Miscond,ct                    '       Case No': 10:lQ3Z0


                                                       County: Escambia              Date of Offense: 3/032009
Location : Holman    Correctionallqc{lty-

Victim(s)                                                          Subject(s)
                                                                   Coordinator GwendolYn MosleY
 lnmate Allan C. Miller AIS# Z:672'G1-164                          Captain Michael Strickland
                                                                   Lieutenant Timothy Craft
                                                                   Lieutenant James English
                                                                   Lieutenant JosePh Raines
                                                                   Officer AnthonY Weaver



DETAILS:
                                                                 complaining about the way he was
       On February 1st, 20i0, inmate Allen Miller wrote a letter
forced to provide a-mandatory DNA sample for DOC'

SYNOPSISI
                                                                was scheduled to prwide a mandatory
        On March gd, 2009, inmate Allan Miller 2672-G1-.16A
 DNA sample for boc omran. LieulenrntJ strickland
                                                           and English went to inmate Miller's cell to
                    jay roor 6;th" DrtiA ra*pre, urlinmate Miil+ supposedly refused to provide the
 escort him to tne
                                                            he along with.another inmate were passed
 mandatory .arpr"-As a result of inmate rvririieri refusal
                                                      and Engrisn r"trt*g to escort inmate Miller to the
 over and reft for rast. when t-ieutenanii-strrcii"no
                                                                      Miiler was instructed to hang the
 day room rre was; the terephon. irrr,ing to his rawyerlrnmate
                                                             the phone was pulled away from inmate
 phone up and ne refused to do so. At this time, tuppos*dly

                                   Non-Criminal                                 lnternal
   Criminal
                                   Pending lnvestigation                        Closed or lnactive
   Unfounded                                                                    Not Cleared
                                   Cleared bY Arrest

        of Report to                                                                               2011
                                                                    Date of RePort      July 25,             .
  Commissioner
  D/A                                                                                    Inv. Ron Cooper
                                                                    Report Made bY
  D/C AC Deloach
  Other                                                                                  lnv. Ron Cooper
                                                                    Report TyPed bY

                                                                                                             -
                                                                                                    AMILLER1983DISC0938
            Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 8 of 16




                                                                   Miller still failed to comply with Lt'
Miller when Lieutenant English sprayed him wtth o.C. lnmate
English,s verbal .orr"no-r to be handcuffed. Lieutenant
                                                               strickland then intervened convincing
                                                           was then escorted to the dayroom where he
inmate Miller to aflow them to handcuff him. lnmate Miller
                                                                      instructed by his attorney' when
requested er"ryon";r name involved in tne sample taking as was
DOG personnel r"ir."J to give the_ir names to inmate Alhn he
                                                                     again refused to provide a DNA
sample for Doc otroi"lr. lnriate Miller was then forced to the floor
                                                                     where he supposedly hit his head
                                                                              to obtain the samples they
and sustained scratches to his face. onc" on the floor Officials were able
needed. supposeai/ inmate Miller was denied medical aftention          and  was    taken back to his cell
                                                                                           alleged officer
without any further incident. tnmate Miller has requested a formal investigation into
Misconduct                                                                                                  :




                                             INVESTIGATION

rNtArE A|-AN E. lf,lLLER AIS# 2672€1'164
       On April Znd, 201A, at approximately 10:05am, I interviewed inmate Miller at the Holman
                                                                                                 housed at
Correctional Facility concerning his btter alleging Offioer Abuse. lnmate Miller is cunently
the Holman Correctional Facility and sentenceolo Death for Capital Murder Charges. lnmate Miller
has been at Holman Correctional Facility since July 31"t, 2000. According o i-nmatg Miller, he had
been talking to his lawyer for the last several dayi,about the scheduled DNA testing and on this
particular diy they (Offilers) were yelling at inmate George Martrl, *ng i: in the next cellto him- Lt.
Jrrn", Engliih then maced'inmatsMartin because he wis wanting to talk to his lawyer. Lt. English
                                                                                                 his lawyer
itren Uegini yelting at him, so he tetls Lt. English to let him get dress while he's talking to.
                   "net
on g'" p"non6. ns       ij[,ing to his tawyer hE tawyer tells him to formally protest the mandatory DNA
r"rpr* *o ,ir, for the names    of everyone involved in taking it. lnmate Miller claims he again tells the
omriir. to give him a moment so he 6an get dress and that's when the phone goes dead and that's
                                                                            jumped back and yelled God
when theylried to mace him in the face. lnmate Miller claims he then
Damn it did you not here what ljust damn said. As he's putting his       pants  on they maced him again
                                                                                                   he was
and he yells God Damn it didn't you hear what I said- lnmate Miller claims he then tells them
                                                          pushes   Lt. English out of the way stating he's
talking tb tris lawyer and about that time Lt. Strickland
(MilleQ wanting to come outside'
                                                                                                           him
        At this point in the interview, inmate Miller points out, the first time Lt. English tried to.mace
                                                                        got all over some   paper'  The seoond
was when thephone with dead, but he thrcw his lrands up and it
time was when he was trying to put on his      pants, he  sprayed   him  on the side of his head and some of
it got in the corner of his eYe.

       According to inmate Miller, he then allows himsetf to be handcufied by the otrto
                                                                                                   and they
                                                                       lnm{e    Miller claims  he then  tells
*cort"Jtri, to-the room where they were taking the DNA samples.                              The  DNA    guy
the DNA guy that hisla*ver *"nt"d him to foimally-have  protest giving the Dl'.lA sample'
actnowbJg6s his iuqr"ri and then teils him they              to get his finger prints first. lnmate    Miller
claims once they took his fingerprints, he asked them   for their  names and they told him they.couldn't
gir"  ii,  their nimes. He thJn isked'them to write it down showing that they refused and they said
                                                                           provides a DNA sample. The
no. lnmate Miller then claims Ms. Uoitey tells him it's mandatory that he
                                                                                             backwards. A
n"*t tt,ing he knows, he gets jumped from behind, hit from behind his legs and pulled      yanked
gry n"*6d sgt. crafi taEkted nim by his legs and       grabbed    him by his pants   and            his legs
                                                                                              the  DNA   guy
ip*rrJ causirig him to fall to the floor. once on the floor they gpbbgd his face         and
                                                                                            y'all you  could
came and took his DNA. lnmate Miller claims he then yetls out, God Damn it, I told


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            Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 9 of 16

                                                                                               Page 4   of7


                                                      one of the officers struck his finger in his face
                                                                                                          and
have my DNA. At this point, inmale lvliller claims
rriO, I t6U you I was going to get that fucking DNA'
                                                                     people h9 was going to give them a
         lnmate Miller ctaims, he told the officers and the DNA
                                                         file a formal protest with his attorney. He never
sample all he wanted was there nr*"r ro n" could
                                                              Lt. Raines kept telling him to stop resisting'
refused to give tnem rris bun ano wniie standing there
lnmate Miller ctaims he wasn't resistinj h"    *.r jrld standing there like the other inmates did wanting
                                                         Miller p-ointed out,..!hat they weren't foroe to give
the names of those taking the DNA r#'ilH. in,ir"t"
                                                                   lnmate Miller also pointed out, that they
a sample, wrry wai ii" ir.r-u only ong lorceo to give a sampli.
                                                                  cart examination. lnmate Miller claims he
did not take him to health care until tnl-n"*t dly for a.body
 never did anything to cause him to be treated thb way he
                                                              was treated by the officers'




      On April Znd, 2010, at approximately 10:50am, I interviewed_ Lt. abuse. Raines at the Holman
                                                                                     According to Lt'
Correctional Facility concerning i'nhate Aan uitter's allegatign*
                                                                  oI officer
                                                                             being brought  in for their
Raines, he was ,riig*J to tr6 dayroom to take names o:t att ttre
                                                                   inmates
                                                                  inmate being the last  ones  brought
mandatory onn sami'le. He remerLers inmate Miller and another
                                                                                       claims he can
in because they n"i .rpposedly refused to provide a DNA sample' Lt' Raines
                                                                      officers escorting inmate Miller
remember tieutenants rrigri*r' ,,io stri"rhnd along with some other
                                                        provide. his DNA.sample he refused to do so'
into the dayroom. wt"n itilas time ior inmate Miilel to
He was instructed uV ut English several times to allowihe technicians
                                                                          to obtain a mouth swab from
                                                                                oryce arso explained to
him. He refused each time. Ms. Gwendotyn Mosley from the Montgomery
                                                                  Miller again refused to do so' At that
inmate Miller he was required to provide r'orun sample. lnmate
time, Ms. Mosley instru&ed them (ofFlcers) to put inmete Miller on the
                                                                          floor' lnmate Miller was then
placed on the floor and the techniti"n wri able to obtain a mouth swab
                                                                              from him. once the DNA
lampte was obtained inmate Milter was stood up and escorted back to his      cell.

                                                                             in anyrrrray or abuse him in
        According to Lt. Raines, he never saw anyone strike inmate Miller
                                                                             and he refused to be taken
 enyu.y. Lt. Rainei.taim, inmate Miller never complained of being injqred he thinks inmate Miller was
 to health care to be decontaminated from the oc spray. Lt. Rainei
                                                                     claims
                                                                                       of this incident, Lt'
 taken the next o"v to tearg, .ro toi a ooov cnaft.'ll 6hould     lgted. at the time
                                                              be=
                                                                Miller to the floor'
 Raines was in a leg cast and was not invoMLd in taking inmate

 oFFtcER ANJHONY WEAVER
                                                                               Weaver over the telephone
        On July 6th, 2011,at approximately.3:4?Pp, I interviewed Ofiier
 concerning his involvement wiir' inmate Ahn Niiller. According
                                                                     to ofiicer weaver, on this particular
                                                                  DNA samples from all the inmates on
 day he rememberc when a group of feople c.aTe in to take
 Death Rowe. He doesn,t know who thl gioup belonged to
                                                              all he knows is that they were there to get
                                                                Miller and another inmate reft sed to give
 DNA samples trom the inmates. rre iemEmbbrs that-inmate
                                                                             Miller he refused to get off the
 a sample so they savea them tor rast.'wtenihey finally-loJ.to11mate
                                                                                  Plus P spray. After being
 phone with his attorney so Lt. gngrisn sprayed'trim wittr' his oC Freeze
                                                                            to place  the handcuffs on him'
 sprayed he placed his irands firrougrr tre'handcuff port allowing them
                                                                      sample- officer weaver then claims
 At that time they escorted him down to tne dayroom for his DNA
                                                                          or after taking his DNA sample'
 he can,t ,e.eru.iiit"v had inmate Miller dlcontaminated before
 \A/hen they got nim io in" arvioom tre retuseo to provide a sample
                                                                        and started resisting. At that time,
 officer Weaver          in"y pir""d inmate Miller on the floor and the DNA sample was taken
                 "taim*

                                                                                           AMILLER1983DISC0940
           Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 10 of 16

                                                                                               Page 5   of7
                                                                       ;




                                                                                    times that it was a
       According to officer Weaver, it was explained to inmate Miller several
                                          ,
mandatory requirement for him to give otln sample, but he still refused to
                                                                                do so- He wasn't 100o/o
for certain, but he believes us. nrtosiey uras therd when they took the     samph    from inmate Miller'
                                                                             remember Lt English being
offioer Weaver claims he can't rememblr who all was there, but he does
                                                                              the incident he never saw
there and possibry lt. stricxland being there. OfficelWeaver claims, during
                                                                                             there were
,nyon* stilre inmate Miller or physica-lly abuse_ him in a.nyway._oficer-lveaver also claims pretty
                                                                                                    sure
no'injuries to inmate Miller or anyone else to his knowledge. Ofiiqr Weaver claims
                                                                                        he's
grey lu a body chart on inmate Miller, but he doesn't remember    it. once they obtained  inmate  Mille/s
Oflh *rrple itrey-piaced him back on his feet and escorted him back to his cell without further
incident.

LIEUTENANT JAMES ENGLISH

       On July 1zth,2011, at approximately 8:37am, I interviewed retired Lieutenant James English
over the tebphone concerning his involvement with inmate Miller'

        According to Lt. English, he was told that inmate Miller had refused to come out of his cellto
give a mandatoi DNA sample. At that time, Lt. Englistr claims he went to Ms. Mosley and the people
Eollecting the DhiA sample to see if they could collect DNA from an inmate sprayed with OC spray. Lt.
Engtish ilatms they tolil him yes, but they did not _ry.?nt the inmate sprayed in the room they were
coni6ing the samfiles in. Heihen went to inmate Mille/s cell where he told Miller he was going to
                                                                                                   phone
frave toiir" a DNh sample. lnmate Miller refused to give a sample claiming he was on the
                                                                                     phone  jack located
with his ittorney. Lt. Engiish claims he then unplugged the phone cord from the
outside of lnmate Miller'l ceil at which time he began cursing. Lt. English claims he then informed
inmate Miller he had to give a DNA sample and he again refused to do so. At that time he sprayed
inmate Miller with his Frleze Plus P (OC spray) and inmate Miller wiped it off his face and began
           Lt. English claims he instructed inmate Mitnr again that he was.going to_have to come out of
"rr.ing.
his ceii and he- refused. At that time he sprayed inmafe Miller again when Lt. Strickland intervened
i"ffing ir*ate Milter he was going to have lo Come out of his cell. lnmate Miller then walked up to the
handiuff port and allowed n'imselt to be handcuffed. At that time, they escorted inmate Miller down
the stairs to the dayroom
                      -one   to obtain his DNA sample. Lt. English claims as they escorted inmate Miller
to the dayroom no          touched him. Once they entered the dayroom inmate Miller refused to provide
    Of.rn simple. The lnstitutional Coordinator, Ms. Mosley was there and she walked up to
                                                                                                  inmate
i                                                                           Lt. English emphasized   that
Miller and i#ormed him that it was mandatory that he provide a sample.
inmate Miller was told several times that it-was mandatory that he provide a sample. Lt. English
                                                                                                what we
claims, Ms. Mosley then instructed the technicians to step back and then instructed us to do
 had to do to get the samPle.

         According to Lt. English, they then took inmate Miller to the floor by literally placing him on the
floor without mistreating i-im. Oncb on the floor, Lt. English claims he used his thumbs to make
inmate Miller open his riouth, at which time, the technician was able to obtain a mouth swab. lnmate
tttitter was then plaoed back on his feet. Lt. English then claims they were going to take inmate
                                                                                                        Miller
to the health caie unit for treatment, but he refused treatment.    They  then had   the  nurse  come  to the
bottom of the stainray leading up to the tier (Znd floor of cells) to examine.inmate Miller,    but was  only
                                                                                                          not
able to do a visual examination because of inmate Miller's lack of corporation. lnmate Miller would
                                                                       of  him and   said  everything looked
let her check his vital signs so the nurse did a visuat assessment
good to her. lnmate Maller was then escorted back to his cell without further incident-



                                                                                            AMILLER1983DISC0941
             Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 11 of 16

                                                                                                       Page 6   of7

                                                                                                                           l




                                                                                                               over the
                                                                l^interviewed Captain Michael Strickland
         On July 18th, 201 1 , at approximately 9:1 8am,                                                        captain
                                                      inmate nan naiter. At t'he time of this incident
terephone conceming his invorver*nirriln                                         assigned to Donaldson    correctional
                                                         rvfiller is
strickland held the rink of Lieutenant.'cipt"in                      "rir"rttlv
Facility in Birmingham.
                                                                                   they-tuere taking mandatory DNA
         According to captain strickland, on.this. particular day,                                               Mille/s
                                                          arong wiitt t-ieuienaniEnglish went to inmate
sampres from the inmates on Death no,,r". He                                                               Miller of the
                                                                          when they inlormed inmate
celt to escort him to the dayroom to-glt his DNA-siIple.
 required sampte, inrrt" nrliter rerusEJ to ne cuffed
                                                                     up. captain sirickland claims they then told
 inmate Miler they wouH come uack to get rri,            l"orr"        th"y'*"re gn a time line, but he will give a
                                                                        refrised to be crrffed up, at which time, Lt'
 sample. when they came to get inmate- Milbr he again
 English sprayed ln'maie rvriiler-witr his Freeze Plus P
                                                                      OC spray. captain strickland claims inmate
                                                                         this time strirng him with the spray' At this
 Milter dodged the spray and Lt. English sprayed him again
                                                                                     the spray did. nol have. the same
 time, inmate Miiler became very initaGi wilrr Lt. English because
                                                                      claims he then stepped between Lt' English
 affect on him as it did with the otnei inmates. captain                                                           going
 and inmate Miller iuili"g   i;r"t"   tl/titt*r that he needed to coo_perate_ with.them because he was
                                                                                 allowed himself to be cuffed, but still
 to have to give the mandatory sampl". At ff,rt time, inmate Miller
 claimed he was not'goir,g
                         -mouin
                                  t6 give a sampte As t[ey escorted inmate Miller into the dayroom he
  refused to open rris             tor ttre moutir swab. captain strickland then claims, the lnstitutional
                                                                                  inmate Miller to give the mandatory
  Coordinator, Gwendorvn Mosrev tried several times to convince
  required DNA sample. lnmate Miller refueed to cooperate.
                                                                         At that time, they force inmate Miller to the
                                                                                       to obtain the sample'
  floor where ttrey were able to open his mouth and take a mouth swab
                                                                         affangemerts were made to
         According to captain strickland, once the sample was obtained
                                                                      examination. captain strickland
 have inmate Miller taken to the health care unit for a body cha.rt
                                                                unit. captain strickland claims inmate
 claims he did not accomfanied inmate Miller to the health caie                                  Miller.
 Milter did not   ,rrtin"a any injuries and at no time did anyone physicafly abused llTate
                                                                  from ttre oc   spray  which had  liftle
 lnmate Miller was taken to the intirmarv to be decontaminated
 affect to him.

        It should be noted. when asked if inmate Miller was
                                                            on the telephone in his cell, captain Miller
                                                              were several inmates on the phone that
 replied, it was very well possible that he was because there
                                                                         it from the wall jack located
 day. lf inmate tuilter was using tn"- prlon"-they would of unplugged phone out of inmate Miller's
 outside of his celi.-captain str*ictdani point"o out, nobody
                                                              puteolne
                                                                 and disrespectable to them'
 hand. captain strickland also claims inmate Miller was veryloud



                                                                                Craft over the telephone
        On July 1gth, 2011, at approximately 1:42pm, I interviewed Lieutenant
                                                         tne fime of this incident Lt- craft held the rank
 concerning his invotvement wlitr inmate Alan Miiler. Rt
 of Sergeant.
                                                                                      were on the tier
        According to Lt. craft, he along with Lieutenants English and Strickland
 removing gre tnmies          b; one fto,i their cells and escoiing them.-to the dayroom to give
                             ;;                                                                  he
                                                                                                     the
                                                                                                    was
                                                                inmate Mille/s  cell he claimed
 required mandatory DNA sample to officials. when they-ce]t to
                                                           got
 going to call his atttrney. when they_came  back  to tris   inmate Miller claimed his attorney told him
                                                                        then instnrcted to bring inmate
 he didn,t have to girt; .jrpr. to-ooc.-r-t. craft claims they were
                                                                                                     AMILLER1983DISC0942
            Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 12 of 16

                                                                             '                         Page70f7
                                                                                 ,,,,   ,   .

                                                          he give the:gmpr?. Lt. crafi claims they then
Mirer to the dayroom because it was mandatory that
                                                                      but inmate Miller again refused to do
told inmate Miller that it was mandatory that rre giiye the sample,
                                                                            inmate Miller with his chemical
so as he was tatkinl on gre pnon". n[ tnat tim6, Lt. English splayed
                                                                erigfidn- lnmate Miller eventually came to
agent and inmate ui1er began s.r"rrint and cursing ail-t.
the tray port to be handcuffed.
                                                                                         escorted tlm to the
        Lt. Craft then claims once they removed inmate Miller from his cell they
                                                                         got tq the dayroom and he refused
dayroom for the Ot-tA sample. There were no problems until they
                                                                                             was a rnandatory
io llir" the sample. Lt. crdft claims, Ms. Mosley then informed inmate Miller that it
                                                                                    do so when Lieutenants
requirement for him to give a DNA simple. lnmate Miller again rejrlse!.t9
ingti.h and strickirno iir"uu"a him around his torso          and  he  grabbed   him by his legs- They then
                                                                             inmate Miller was placed on his
t61"6 inmate ru;;rei up Ino phced him on the floor. Lt. craft cliims                       him to the floor. Lt-
back and it was por"ifip 6rai tre might of hit the floor hard, but they did not slam
Ci"tt         point* out,-tnat they did-have to physically wrestled    with inmate  Miller because he was a
UE ;"n "t*ot iigtting at least 3001bs., but they did not slam him to the floor.

       According to Lt. Craft, he never saw anyone strike inmate Miller and to the best of his
                                                                                         remember if
knowledge inmate rr4iler never complained of being hurt. Lt, Craft also claims he cannot
                                                                                           be to take
inmate Miller was taken to health care for a bodythart, but the normal procedure would
him for a body chart examination.

COORDINATOR GWENDOLYN MOSLEY

       On July 25, ZO11,at approximately 10:4*am, t interviewed Ms. Mosley over the telephone
                                                                                                  inmate
concerning her involvement witH inmate Alin Miller. According to Ms..Mosley, _she remembers
Miller beiig escorted by Lieutenants English and_$trickland io the dayroom for his
                                                                                        mandatory DNA
sample. lrimate Miller had been spray6a wfth oc. in his cell for refusing to !e
                                                                                        handcuffed and
escorted to the Oayroor. When inmLtsMiller arrived in the dayroom t9."g1!
                                                                                 refused  to submit to a
                                                                                     sample was not an
DNA sample. lvts. Mosley then claims she informed inmate Miller that the DNA
                                                                                        Ms. Mosley then
option it was *anOatory. Inmate Miller aggin refu.sed_to provide his DNA sample.
                                                                               Ms.  Mosley  claims once
instructed the officers io place inmate uiiller on the floor for the sample.
                                                                                               Millerwas
inmate Miller *", on the floor, DFS personnel performed a mouth swab on him and inmate
                                                            certain, but inmate Miller should have  been
pi;.;d ui.r on hisfeet. Ms. Mosley claims she wasn't    for
iaken to health care to be decontaminated.
                                                                                                 in her
       According to Mosley, inmate Miller uras never physically abused by any DOC .Rersonnel
                                                                                   administered he was
 pr"*nd. l"rri" r,airer wis placed on the floor and once the mouth swab was presen@'
                                                                               in her
 [iiruJ ui"k on his feet. tnmale Milter never complained of any injuries while
                                                                                                ,j

                                     i ,'   '     EvlDEllcE

         The above evidence shows that inmate Alan C. Miller refused to gggpelate with _Correctional
 Officials when told he was required to provide a mandatory samplg of his DNA.
                                                                                   lnmate Miller while on
                                                                                               along with
 the telephone in his cell with his attorney refupeq-tg- bu handcrrffrad. lnmate Miller then
 another inmate were left for last to haie their DNA samples       tafen.   When    Corectional   fficials
                                                                                        Miller          to
 returned inmate Miller was still on the phone and was instrubted to hang up.
                                                                                lnmate         refused
 ning up and the frton" was unpluggid fro, the.telephone ja_ck located        outside of his cell.  lnmate
                                   and-rrrr" sprayed twite witlr oG   spray. lnmate  Miller then allowed
 Miller refused to be handcuffed

                                                                                                     AMILLER1983DISC0943
             Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 13 of 16

                                                                                                Page 8   of7



himself to be handcuffed and escorted to the dayroom
                                                            for his DNA sample. -lnmate Miller again
                                                                taken to the floor. correctional officials
refused to cooperate and was oroereo uv us. nllosiey to be
placed inmate Miller on the floor and ors peoolngi were able to obtain
                                                                               a mouth swab from him.
                                                                            taken to heath care to be
lnmate Miller *as-ptr""J back on his fedt and then refused to be
decontaminated. The nurse from health care was eventually brought.
                                                                            to him for an examination'
                                                                                  nurse made a visual
tnmate Miller would not cooper"t" in the examination process ind the
            of him. Noting there were no visible signs of injuries'
"*r.t"*rnt
                                                                                      potentirl foj injuries to
      tA/henever officers have to make physical contact with a subject the
                                                                               hit  his head on the floor and
both partiei are ,lw"vs a possioility. li is very possible that inmate Miller
                                                                                     taken to the floor' This
sustained a laeration to his face from tin'g"r nail, as he claims, when
                                             "
Nrliiigliir" inquiry couio not find any intentioial  acts on ofiicerc to inflict iniudes to inmate Miller' As
Ms. Mdsey statbd ine Orun sample is not an option "it's mandatort'"

                                                  FINDI]IIG


       The above evidence does not support inmate Mille/s allegations of ofiicer abuse.




                                  .,., /s/Ren Oeoper        .

                              Ron Cooper, lnvestigator
                              Alabama Department of Corrections
                              lnvestigations and lntelligence Division


RC/




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Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 14 of 16

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         Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 15 of 16




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 Case 2:22-cv-00506-RAH Document 61-1 Filed 09/16/22 Page 16 of 16




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